Case 8:25-cv-01119-MSS-LSG      Document 10           Filed 06/02/25   Page 1 of 27 PageID 168



                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION
                          Case No. 8:25-cv-01119-MSS-LSG

   Proven Industries Inc, a Florida corporation
        Plaintiff,

         v.
  Trevor McNally, individual
         Defendant.
                                                  /



                     PLAINTIFF’S EMERGENCY MOTION
                      FOR PRELIMINARY INJUNCTION
Case 8:25-cv-01119-MSS-LSG       Document 10      Filed 06/02/25   Page 2 of 27 PageID 169




         Plaintiff, Proven Industries Inc. ("Plaintiff" or "Proven"), pursuant to Fed. R.
  Civ. P. 65 and Local Rules 6.01 and 6.02, moves for a preliminary injunction enjoining

  Defendant, Trevor McNally ("Defendant" or "McNally"), from infringing Proven’s

  copyrighted video and publishing content that falsely implies Proven’s lock products
  are insecure, trivially bypassed without skill or preparation, and that Proven

  knowingly misleads customers about the product’s security. In support thereof,
  Plaintiff states as follows:

     I. Request for Emergency Relief Under Local Rule 3.01(e)

         Defendant continues to maliciously publish social media videos that falsely

  imply Proven’s locks are easy to unlock without a key and without preparation,
  expertise or training – even after Proven filed its Verified Complaint based on the same

  assertions. All of Defendant’s videos employ the common theme of falsely implying
  Proven’s locks are easy to unlock without a key and without expertise or training. [See

  [DE 01] Verified Compl. ¶¶ 2, 32, 43–44; Sansone Decl. ¶¶ 7–10, 20–21]. On May 28,

  2025, Defendant maliciously published his most recent video. The May 28, 2025 video

  comes one day after Proven’s counsel advised Defendant’s counsel about an email

  from one of Proven’s employees expressing concern for the employee’s own safety and

  job security because of the hundreds of violent, sexual, and threatening messages
  Proven received because of videos Defendant published on May 23, 2025 and May 25,

  2025. [Lee Decl. ¶¶ 23–28]. Proven learned about defendant’s May 23 and May 25

  videos after Proven’s president and family members began receiving many harassing

  phone calls, texts and direct messages at all hours of the day and night. [See Lee Decl.
  ¶¶ 18–28, 34]. McNally, knowing that his followers have expressly stated their intent

  to harm Plaintiff’s business and reputation in response to his videos, continues to



                                             1
Case 8:25-cv-01119-MSS-LSG       Document 10      Filed 06/02/25    Page 3 of 27 PageID 170




  publish targeted content that amplifies the damage and escalates the harm to Plaintiff.
  [See [DE 01] Verified Compl. ¶¶ 63–69, 72–74; Lee Decl. ¶¶ 29–30]. The imminent

  damage justifying emergency relief is the ongoing and escalating reputational and

  commercial harm to Plaintiff caused by Defendant’s retaliatory conduct. Defendant
  will not stop until he destroys Proven’s reputation. [See Lee Decl. ¶¶ 30–32, 35]. Proven

  requests the Court enter an order requiring Defendant to stop publishing and remove
  all videos in question regarding Proven or its employees, and that further Defendant’s

  false narrative, to prevent further harm to Proven, its employees and their family

  members.

     II. Summary of Arguments
         Plaintiff files this Motion for injunction because Defendant has engaged in a

  retaliatory online campaign designed to harm Proven’s reputation, mislead
  consumers, and destroy customer trust. [See [DE 01] Verified Compl. ¶¶ 43, 67–72].

         McNally is a commercial content creator and social media influencer with

  millions of followers across YouTube, TikTok, Instagram, and Facebook. [See id. ¶ 3].

  McNally posted four videos on his social media accounts that are at issue in this

  Motion. All three videos (collectively, the "McNally Videos" and individually, "Part

  1," "Part 2," "Part 3", and "Part 4") show McNally shimming a lock that Proven sells
  to customers. [See Verified Compl. ¶¶ 20–21, 25–31, 35–39]. The McNally Videos fail

  to show or explain the preparation and skill involved to shim Proven’s locks, falsely

  implying that Proven’s locks are very easy to bypass and would not properly secure

  property. [See Bonfiglio Decl. ¶¶ 10–20; Sansone Decl. ¶¶ 9–15, 18–19]. Defendant
  posted the McNally Videos all for commercial gain. [See Verified Compl. ¶¶ 59–62, 75,

  83].



                                             2
Case 8:25-cv-01119-MSS-LSG       Document 10      Filed 06/02/25   Page 4 of 27 PageID 171




        The Defendants campaign against Plaintiff began on April 3, 2025, when
  McNally published "Part 1," using verbatim excerpts from Proven’s copyrighted

  promotional video without authorization, combined with a misleading lock-picking

  demonstration. [See id. ¶¶ 19–28; Canning Decl. ¶¶ 10–13]. The demonstration omits
  critical facts: McNally had already disassembled the lock or used the key to open the

  lock to inspect its internal mechanism, and custom-fabricated a shim specifically for
  that model. [See Bonfiglio Decl. ¶¶ 9–13; Sansone Decl. ¶¶ 8–10, 14–15]. McNally’s

  video falsely portrays the bypass as immediate, effortless, and replicable by an average

  person using a scrap of aluminum can. [See Verified Compl. ¶¶ 32–36, 41–44].

        After pre-suit notice and multiple DMCA takedown requests, Part 1 was
  removed from all platforms except TikTok. [Lee Decl. ¶¶ 17–18]. Rather than de-

  escalate, McNally retaliated by publishing three additional videos (Parts 2–4), each
  building upon the original defamatory implication. [Id. ¶¶ 19–23]. These follow-ups

  target the same and additional Proven products while again omitting context and

  staging demonstrations under unrealistic conditions (e.g., shimming the lock while not

  affixed to a trailer coupling). [See Suppl. Sansone Decl. ¶¶ 5–7, 10–11]. Part 3 falsely

  implies that Proven’s President, Ronald Lee II, harassed McNally’s wife, based on a

  text sent to a publicly available phone number, and addressed said text to "Trevor" in
  an attempt to resolve the matter pre-suit. [See Lee Decl. ¶¶ 12–13, 22]. McNally has

  expanded his campaign against Proven in Part 4 demonstrating his intent to attack

  Plaintiff's additional product lines. [See Suppl. Sansone Decl. ¶¶ 3–4, 10–11].

        Defendant continues to publish new videos that build on the original false
  implication and copyright infringement of Part 1. [Fahey Decl. ¶ 7; Canning Decl. ¶¶

  10–11; Lee Decl. ¶¶ 19–23]. These additional videos continue to portray Plaintiff’s



                                             3
Case 8:25-cv-01119-MSS-LSG        Document 10     Filed 06/02/25    Page 5 of 27 PageID 172




  locks as insecure and easy to bypass while omitting material facts about the
  Defendant's inspection and preparation to shim the lock, and while also failing to have

  the lock in a secure configuration coupled to a trailer – its intended use. [Lee Decl. ¶¶

  19–21; Sansone Decl. ¶¶ 7–9; Suppl. Sansone Decl. ¶¶ 5–9]. The McNally Videos, as
  a result of these implications, also suggest that Plaintiff knowingly deceives customers

  by selling ineffective products. Each video increases public engagement and spreads
  the defamatory message to a wider audience. [Lee Decl. ¶¶ 20–23; Suppl. Sansone

  Decl. ¶¶ 7–9].

           Because McNally continues to post misleading videos in retaliation of Proven's

  effort to protect is intellectual property and its reputation, McNally continues to
  escalate the matter. Plaintiff received harassing messages, threats, and accusations

  based on false claims that its products are defective and that it acted improperly by
  texting Defendant’s wife, though the message was a good-faith attempt to resolve the

  issue sent to a publicly available number. [Lee Decl. ¶¶ 24–26, 30–31]. Viewers have

  contacted employees directly, disrupting operations and creating a hostile work

  environment. [Id. ¶¶ 26-29]. Defendant’s followers obtained the personal number of

  Plaintiff’s President and published it on the comments of McNally's Videos. [Id. ¶ 27].

  As a result, viewers have sent threatening texts, including racial slurs and hate speech
  to Proven's employees and their families and loved ones. [Id.]. These actions caused

  severe emotional distress, raised safety concerns, and created a hostile work

  environment incited by Defendant’s videos. [Id. ¶¶ 26-27, 31]. They have also diverted

  resources away from the day-to-day operations of Proven to address these matters. [Id.
  ¶ 26].

           Defendant, by and through his followers actively seek to harm Plaintiff’s



                                              4
Case 8:25-cv-01119-MSS-LSG       Document 10      Filed 06/02/25   Page 6 of 27 PageID 173




  business by posting false reviews, disrupting operations, and damaging its reputation.
  [Id.   ¶¶ 26-29, 30]. These actions tortiously interfere with Defendant's business

  operations as well as its customer relationships. [Id.]. These actions have caused

  monetary losses for the Plaintiff as well as incalculable damages in dealing with the
  repercussions and fallout of the misleading implications in the McNally Videos. [Id. ¶

  31]. With full knowledge of these actions, Defendant continues to incite and escalate
  the misconduct through defamatory and retaliatory content and the publication of new

  videos directed at Proven. [Id. ¶ 34].

         Injunctive relief is necessary to prevent ongoing irreparable harm to Plaintiff’s

  business, reputation, and customer relationships. The defamatory content continues
  to spread and cannot be remedied by monetary damages alone. Injunctive relief is

  warranted to prevent continued harm, especially given Defendant’s prior history of
  similar conduct for commercial gain, making further harm not only likely but

  foreseeable. [Id.]. Plaintiff notified Defendant’s counsel of the ongoing harm, but no

  corrective action was taken. [Fahey Decl. ¶ 7-11]. This motion will be served

  concurrently with filing.

    III. Brief Statement of Facts

         Proven manufactures high-security locking systems, including a signature trailer
  hitch lock marketed as a Latch Pin Lock. [Lee Decl. ¶ 2]. In March 2025, Proven

  released the Proven Video, which is an approximately ninety (90) second promotional

  video showing the product’s durability, branding, and security features. [[DE 01],

  Verified Compl. ¶¶ 14-15].
         On April 3, 2025, McNally posted a short-form video to TikTok, YouTube

  Shorts, Instagram Reels, and Facebook ("Part 1"). [Id. ¶ 20]. Part 1 was posted by



                                             5
Case 8:25-cv-01119-MSS-LSG        Document 10     Filed 06/02/25   Page 7 of 27 PageID 174




  McNally as a thirty-two (32) second video ("McNally Video") on multiple social media
  platforms. [Id. ¶¶ 21-22]. Part 1 begins with approximately fifteen (15) seconds of

  Proven’s copyrighted video and audio ("Proven Video") without permission. [Id. ¶¶

  24-31]. McNally intentionally copied the heart of the Proven Video, including the
  Proven Video’s opening narration, branded visuals, and core product demonstrations.

  [Id; Canning Decl. ¶¶ 7-12]. The portion of the Proven Video that McNally copied
  included the audio narration from the Proven Video, the opening attention-grabbing

  audiovisual sequence, and the initial product demonstrations, all of which were

  designed to draw viewers in, establish the lock’s and Proven's credibility, and promote

  its security features. [Id.].
         While the audio from the Proven Video plays, Part 1 cuts to McNally watching

  the Proven Video on a mobile device, with the Proven Video clearly visible on the
  screen of the mobile device. [[DE 01], Verified Compl. ¶ 33, 96]. McNally appears

  swinging his legs and drinking from a juice box during this sequence. [Id.]. McNally

  uses these actions to signal that the lock is easy to defeat and to set up Part 1 for a

  mocking, juvenile tone. [Id. ¶¶ 34, 43, 77]. By incorporating these theatrics while

  copying the Proven Video, McNally primes viewers to view the Proven lock as

  unserious and insecure and undermines Proven’s reputation as a credible
  manufacturer of high-security products and sets up his series of videos as an attack

  against the Plaintiff. [Id.].

         After displaying the copied excerpts of the Proven Video, Part 1 then cuts to the

  sequence of McNally bypassing the Proven lock using a piece of an aluminum can. [Id
  . ¶ 35]. Part 1 omits that McNally had previously inspected the internal mechanism of

  the lock, and fabricated a custom shim specifically for that lock. [Id . ¶ 41; Supp.



                                             6
Case 8:25-cv-01119-MSS-LSG         Document 10    Filed 06/02/25    Page 8 of 27 PageID 175




  Sansone Decl. ¶¶ 4–5, 7; Sansone Decl. ¶¶ 13–16]. Part 1 has since received millions
  of views across platforms. [[DE 01], Verified Compl. ¶ 55]. Viewers repeatedly

  reposted the content, amplified its message, and left disparaging comments on

  Proven’s social media pages and product listings based upon McNally’s modified and
  misleading video. [Lee Decl. ¶¶ 14, 17, 27, 29, 30].

           Since McNally published Part 1, Proven has experienced measurable and
  ongoing harm. [Id. ¶¶ 15, 17, 26-31]. At least one customer has returned previously

  purchased products specifically referencing Part 1. [Id. ¶¶ 15]. At least one prospective

  buyer directly stated that they would not purchase the lock after viewing the video.

  [Id.]. Proven was forced to disable comments on posts and product videos due to an
  influx of mocking and misleading replies furthering the false narrative that McNally

  conveyed to the viewers. [Id. ¶ 17].    As a result of the McNally Video, Proven has
  incurred increased costs in moderating its social media accounts, managing customer

  service inquiries, and adjusting marketing strategies to combat the video’s reach. [Id.

  ¶ 31].

           Prior to filing Plaintiff’s Verified Complaint demanded McNally remove Part 1.

  [[DE 01], Verified Compl. ¶ 9]. When McNally failed to take down Part 1, Plaintiff

  filed DCMA take down requests via the social media platforms to mitigate its
  damages. [Fahey Decl. ¶¶ 3-5]. As of the date of filing this Motion, Part 1 has been

  removed from all platforms except Tik Tok via DMCA take down request. [Id. ¶ 6]

  Defendant has since posted Parts 2-4 targeting the Plaintiff in retaliation. [Lee Decl.

  ¶¶ 19-25; See Lee Decl. ¶ 34].
           Part 2 was posted by Defendant on May 23, 2025, Part 3 was posted by

  Defendant on May 25, 2025, and Part 4 was posted by Defendant on May 28, 2025.



                                              7
Case 8:25-cv-01119-MSS-LSG        Document 10       Filed 06/02/25     Page 9 of 27 PageID 176




  [Lee Decl. ¶¶ 18-20]. Plaintiff learned of Part 2 and Part 3 over Memorial Day weekend
  after its customer service team began receiving messages from concerned customers

  and disturbing comments from McNally’s followers. [Id.] Proven’s president, Ronald

  Lee II, along with several employees, family members and loved ones also received
  disturbing calls and harmful text messages on their personal phones. [Id. ¶ 27].

         In Part 2 and Part 3, McNally shims the Proven Latch Pin lock while it is not
  in use on a trailer coupling. [Supp. Sansone Decl. ¶¶ 6–7]. By failing to attach the lock

  to a trailer coupling, its intended use, the lock is easier to shim. [Supp. Sansone Decl.

  ¶¶ 6–7; See Bonfiglio Decl. ¶¶ 9-20 ]. This is because McNally can maneuver the shim

  and the lock at will, and position his fingers in the gap between the shackle and the
  lock body to make bypassing the lock easier. [Id.]

         Part 3 falsely implies that Proven’s Mr. Lee threatened Defendant’s wife. [Lee
  Decl. ¶ 24]. When in fact, Proven’s Mr. Lee contacted a publicly available phone

  number associated with Defendant to try to talk to work out a resolution. [Id. ¶¶ 12-

  13]. This text was addressed to "Trevor," Defendant’s first name as shown on

  Defendant’s social media accounts, and stated "Hey Trevor its Ron with Proven

  Industries I wanted to run some ideas by you, when is a good time to talk." [Id.].

  McNally intentionally misrepresents Plaintiff’s pre-suit efforts to speak with
  Defendant to rally his followers against the Plaintiff. [See Id.].

         Part 4 again shows McNally shimming a Proven lock; however, in Part 4

  McNally now targets a different Proven product, furthering McNally’s pattern of

  retaliation. [Id. ¶ 25]. In Part 4, McNally continues to omit key details from his lock-
  picking demonstrations, including prior attempts, inspection of the locks, and the

  custom preparation of the shims used to bypass said locks. [Id. ¶ 25; Supp. Sansone



                                               8
Case 8:25-cv-01119-MSS-LSG       Document 10      Filed 06/02/25    Page 10 of 27 PageID 177




  Decl. ¶¶ 4–7].
        After the release of Parts 2 and 3, Proven’s customer service department

  received a wave of harassing and obscene messages from McNally’s followers, and

  such influx of bogus customer service tickets has damaged the customer service
  department such that it is experiencing difficulty responding to legitimate tickets. [Lee

  Decl. ¶ 33; See Lee Decl. ¶ 15] One employee, Mr. David Smith, reported that the
  messages created a hostile work environment. [Lee Decl. ¶ 26]. McNally’s conduct

  has also led to direct harassment of Proven’s personnel and their families. [Id. ¶ 27-

  29]. Viewers have sent disturbing messages to employees’ personal phones and

  contacted family members and loved ones of Proven’s President, Ronald Lee II, with
  threatening and offensive remarks. [Id.]. In response to McNally's actions and the

  furtherance of his action by and through his follwers, Proven has incurred significant
  costs managing false reviews, moderating its social media platforms, and addressing

  customer confusion. [Id. ¶ 31-32]. These harms are ongoing and cannot be fully

  measured. [Id. ¶ 31-32, 35].

    IV. Legal Standard

        To obtain a preliminary injunction, a party must show "(1) a substantial

  likelihood of success on the merits; (2) that irreparable injury will be suffered if the
  relief is not granted; (3) that the threatened injury outweighs the harm the relief would

  inflict on the nonmovant; and (4) that the entry of the relief would serve the public

  interest." Schiavo ex. Rel Schindler v. Schiavo, 403 F.3d 1223, 1225-26 (11th Cir. 2005).

        1. Proven Has a High Likelihood of Success on the Merits
            i.     Copyright Infringement

        To show a likelihood of success on the merits for a claim of copyright



                                              9
Case 8:25-cv-01119-MSS-LSG      Document 10      Filed 06/02/25   Page 11 of 27 PageID 178




  infringement, a party "must show by evidence (1) that [it] owns a valid copyright and
  (2) that the defendant copied constituent elements of the copyrighted work that are

  original." See Pronman v. Styles, 645 Fed. Appx. 870, 873 (11th Cir. 2016).

        First, Proven owns a valid, registered copyright for the Proven Video as an
  audiovisual work titled YOU GUYS KEEP SAYING YOU CAN EASILY BREAK

  OFF OUR LATCH PIN LOCK. [Lee Decl. ¶ 6; Fahey Decl. ¶¶ 3–4; Verified Compl.
  ¶¶ 16-17]. The Proven Video is an original work created by Proven’s internal team and

  includes original scripting, branded product demonstrations, voiceover narration, and

  visual presentation. [Canning Decl. ¶¶ 2–9; Verified Compl. ¶¶ 16]. Proven first
  published the Proven Video on March 3, 2025, and registered it with the U.S.
  Copyright Office on April 7, 2025, under Registration No. PA 2-524-347. [Fahey Decl.

  ¶ 3; Lee Decl. ¶ 6; Verified Compl. ¶ 32]. Proven created and released the video as a

  work made for hire and retains all rights in the audiovisual content. [Verified Compl.

  ¶ ¶ 13-18]

        Second, in Part 1, McNally copied substantial and original portions of the
  Proven Video without authorization. [Canning Decl. ¶¶ 10–14; Lee Decl. ¶¶ 8–9;

  Verified Compl. ¶¶ 23–32]. McNally intentionally copied some of the most distinctive

  and commercially valuable portions of the Proven Video, namely, the Plaintiff’s
  scripted narration and product demonstration. [Id.]. McNally used approximately

  fifteen (15) seconds of the Proven Video’s ninety (90) seconds, approximately one-

  sixth of the entire Proven Video. [Id.]. But more importantly, McNally copied portions
  of the Proven Video that Proven deliberately designed to capture viewer attention,
  establish brand credibility, and demonstrate the product’s core function. [Id.].

  McNally's copying of the Proven Video was both quantitatively and qualitatively



                                            10
Case 8:25-cv-01119-MSS-LSG         Document 10     Filed 06/02/25   Page 12 of 27 PageID 179




  substantial. [See Id.]. McNally did not offer any commentary or critique about the
  Proven Video. [See Id.].

         McNally’s use of the Proven Video is not fair use. [Verified Compl. ¶¶ 45–83.].

  McNally copied the heart of the Proven Video for commercial gain, displayed it on
  monetized platforms, and paired it with misleading demonstrations that falsely

  implied product failure. [Canning Decl. ¶¶ 10–14]. McNally did not remix the Proven
  Video using platform-native features. [Verified Compl. ¶¶30]. Additionally, McNally

  did not transform the Proven Video, nor did McNally critique it or use it for

  commentary or education. [Verified Compl. ¶¶ 23–32]. Instead, McNally used the

  Proven Video solely as a visual and an auditory aid to draw attention to Part 1 and
  increase viewership, receiving over 13 million views across all platforms. [Id. ¶ 55].

  The copied content served as a springboard to launch a series of retaliatory attacks
  against Plaintiff and its products. [Lee Decl. ¶¶ 18–35]. These attacks began with Part

  1 and continued through Parts 2 to 4. [See Id.]. McNally undertook this conduct with

  no good faith purpose, no fair use justification, and no legitimate commercial need.

  [See Id.].

               ii.   Defamation by Implication in furtherance of Tortious Interference
         To show a likelihood of success on the merits for a claim of defamation by

  implication under Florida law, a plaintiff "must establish the following elements: (1)

  publication; (2) falsity; (3) actor must act with knowledge or reckless disregard as to
  the falsity on a matter concerning a public official, or at least negligently on a matter

  concerning a private person; (4) actual damages; and (5) statement must be
  defamatory. Turner v. Wells, 879 F.3d 1254, 1262 (11th Cir. 2018)(citing Jesus, Inc. v.

  Rapp, 997 So. 2d 1098, 1105–06 (Fla. 2008); Bell v. Pollock, 8:22-cv-02677-MSS-CPT



                                              11
Case 8:25-cv-01119-MSS-LSG       Document 10      Filed 06/02/25    Page 13 of 27 PageID 180




  (M.D. Fla. Apr 17, 2025). Where a party "juxtaposes a series of facts so as to imply a
  defamatory connection between them, or creates a defamatory implication by omitting

  facts, [the party] may be held responsible for the defamatory implication, unless it

  qualifies as an opinion, even though the particular facts are correct." Turner, 879 F.3d
  at 1269 (citing Jews for Jesus, Inc, 997 So. 2d at 1108 (quoting (quoting W. Page Keeton

  et al., Prosser & Keeton on the Law of Torts § 116, at 117 (5th ed. Supp. 1988)).
  Importantly, courts may treat both pure opinions and opinions based on facts as

  defamatory if the underlying facts are false or misrepresented. Bell v. Pollock, 8:22-cv-

  02677-MSS-CPT (M.D. Fla. Apr 17, 2025)(citing Zimmerman v. Buttigieg, 521

  F.Supp.3d 1197, 1213 (M.D. Fla. 2021) (citing Deeb v. Saati, 778 Fed.Appx. 683, 687-
  88 (11th Cir. 2019))(further citing Milkovich v. Lorain Journal Co., 497 U.S. 1, 19 (1990)

  (stating that "even if the speaker states the facts upon which he bases his opinion, if
  those facts are either incorrect or incomplete, or if his assessment of them is erroneous,

  the statement may still imply a false assertion of fact," and noting that at common law,

  false statements of fact, "whether expressly stated or implied from an expression of

  opinion," were not privileged)(emphasis added)).
        In certain instances, courts in Florida have authority to grant preliminary

  injunctions that involve speech, such as defamation by implication, where false

  commercial speech furthers a separate tort and causes irreparable harm. See Sui et al. v.
  Harry Wu et al., Case No: 8:11-cv-37-T-23TBM (M.D. Fla. 2011) (citing Murtagh v.

  Hurley, 40 So. 3d 62, 66 (Fla. 2d DCA 2010). For example, when a defamatory
  implication furthers tortious interference with business relationships, courts may

  enjoin its continued publication without violating the First Amendment, provided the

  plaintiff proves the underlying cause of action to a reasonable certainty and such



                                             12
Case 8:25-cv-01119-MSS-LSG       Document 10      Filed 06/02/25    Page 14 of 27 PageID 181




  defamation is not incidental to the tortious interference. See Murtagh, 40 So. 3d at 66-
  67 (Fla. 2d DCA 2010)(denying injunctive relief where plaintiff failed to present

  evidence that demonstrated or allowed an inference that defendant's conduct "had a

  deleterious effect on" plaintiff's business); See also Baker v. Joseph, 938 F.Supp.2d 1265
  (S.D. Fla. 2013)(citing Zimmerman v. D.C.A. at Welleby, Inc., 505 So. 2d 1371, 1372

  (Fla. 4th DCA 1987).
                   1. Part 1 of the McNally Videos

        In Part 1, McNally creates the defamatory implication that Proven knowingly

  markets and sells a lock that provides no real security and that its lock can be bypassed

  effortlessly with an aluminum can by anyone, without tools, skill, or preparation. [Lee
  Decl. ¶¶ 8–11; Verified Compl. ¶¶ 36–41; Supp. Sansone Decl. ¶¶ 4–7; Bonfiglio Decl.

  ¶¶ 9–12]. This implication is defamatory because it conveys a provably false assertion
  of fact about the effectiveness of Proven’s lock product and the integrity of its business

  practices. [Lee Decl. ¶¶ 14, 32–33; Verified Compl. ¶¶ 40–42]. It suggests that Proven

  misleads customers and sells a defective product under the guise of high security. [Lee

  Decl. ¶ 32; Verified Compl. ¶¶ 38–40]. McNally also uses the lowest value option lock

  cores to implicate all of Proven's products as defective. [Supp. Sansone Decl. ¶ 8;

  Sansone Decl. ¶¶ 13–14; Verified Compl. ¶ 43].
        This implication does not arise from satire, opinion, or protected commentary.

  [Verified Compl. ¶ 39; Lee Decl. ¶ 33]. It results from McNally’s deliberate

  presentation of misleading information, including his omission of key facts about

  studying the internal mechanisms of the lock and fabricating a custom shim. [Lee Decl.
  ¶¶ 9–11; Supp. Sansone Decl. ¶¶ 4–7; Bonfiglio Decl. ¶¶ 9–10; Verified Compl. ¶ 41].

  These omissions create a materially false narrative. [Verified Compl. ¶¶ 40–41; Lee



                                             13
Case 8:25-cv-01119-MSS-LSG       Document 10      Filed 06/02/25   Page 15 of 27 PageID 182




  Decl. ¶ 11]. McNally reinforces that narrative by copying Proven’s own copyrighted,
  pairing it with juvenile theatrics such as swinging his legs and sipping a juice box, and

  then bypassing the lock in seconds. [Lee Decl. ¶ 8; Canning Decl. ¶¶ 7–12; Verified

  Compl. ¶¶ 23]. All of the foregoing which gives the impression that the lock is or can
  be easily picked without any preparation, merely by using a piece of an aluminum can.

  [Id.]. The implication directly harms Proven’s reputation and misrepresents the Latch
  Pin lock product’s actual functionality, as well as the entire line of Proven security

  products. [Lee Decl. ¶¶ 25, 30, 32; Supp. Sansone Decl. ¶¶ 6–8; Verified Compl. ¶¶

  40–42]. This misrepresentation discourages purchases, erodes trust, harms commercial

  operations, and has damaged Proven’s commercial relationships. [Lee Decl. ¶¶ 15, 30–
  31, 33; Verified Compl. ¶¶ 44–46].

        The implication triggered a foreseeable surge of targeted fallout against Proven.
  [Lee Decl. ¶¶ 14, 17, 30–31, 33; Verified Compl. ¶¶ 42–44]. Viewers reposted Part 1,

  left mocking and misleading comments on Proven’s social media posts, submitted

  disruptive inquiries to customer service, posted disruptive comments to Proven's

  marketing and advertising channels, and posted negative reviews on its ecommerce

  platforms without owning, purchasing, or using the product. [Lee Decl. ¶¶ 15, 17, 26,

  30-33; Verified Compl. ¶¶ 56-58, 65-67]. Proven was forced to disable comments on
  certain posts and reallocate resources to counteract the fallout. [Lee Decl. ¶ 17]. As a

  result, McNally caused Proven to incur increased costs in social media moderation,

  customer service, decreased revenue, increased advertising costs, and harm to its

  ecommerce distribution channels. [Lee Decl. ¶¶ 15, 17, 26, 30-33; Verified Compl. ¶¶
  56-58, 65-67].

                   2. Part 2 and Part 3 of the McNally Videos



                                             14
Case 8:25-cv-01119-MSS-LSG       Document 10       Filed 06/02/25    Page 16 of 27 PageID 183




        Parts 2 and 3 continue and intensify the defamatory implication established in
  Part 1. [Lee Decl. ¶¶ 20–21, 26; Verified Compl. ¶¶ 67-75]. After Plaintiff first

  attempted to contact Defendant, which went unanswered, Plaintiff filed suit and

  initiated DMCA takedowns to address the harm caused by Part 1. [Lee Decl. ¶¶ 12–
  13; Fahey Decl. ¶ 6]. In retaliation, and consistent with Defendant's prior actions to

  increase the virality of his videos, Defendant published Parts 2 and 3. [Lee Decl. ¶¶
  20–21, 26; Verified Compl. ¶¶ 67-75]. These videos again depict Defendant bypassing

  the same Proven lock shown in Part 1, while omitting critical context about prior

  preparation, repeated practice, disassembly of the lock, and fabrication of custom

  shims specifically designed for that model. [Lee Decl. ¶¶ 20–22; Sansone Decl. ¶¶ 13–
  16; Supp. Sansone Decl. ¶¶ 4–6]. It is clear by Parts 2 and 3 that McNally wants to

  instigate his followers in furtherance of a smear campaign against Proven. [Lee Decl.
  ¶¶ 23–24, 27–29, 32, 34; Verified Compl. ¶¶ 67-75].

        In both videos, Defendant bypasses the lock without securing it to a trailer

  coupling or any fixed object. [Lee Decl. ¶ 20-23; Bonfiglio Decl. ¶¶ 7–9; Supp. Sansone

  Decl. ¶ 7]. This omission is significant because the lock is intended to be used in a fixed

  position. [Supp. Sansone Decl. ¶¶ 6–7; See Bonfiglio Decl. ¶¶ 10-13]. By holding the

  lock freely, Defendant is able to manipulate both the shim and the device with ease,
  creating an artificial demonstration of vulnerability. [Supp. Sansone Decl. ¶¶ 7–8; See

  Bonfiglio Decl. ¶¶ 10-13]. This setup does not reflect real-world use, yet Defendant

  presents the bypass as effortless and typical. [See Id.]. McNally fails to disclose that he

  had prior experience with the lock, had practiced the bypass technique repeatedly, and
  had previously constructed a custom shim for the specific lock model, all of which

  misleads viewers into believing the lock is inherently defective and universally



                                              15
Case 8:25-cv-01119-MSS-LSG       Document 10      Filed 06/02/25   Page 17 of 27 PageID 184




  vulnerable. [Sansone Decl. ¶¶ 13–16; Supp. Sansone Decl. ¶¶ 4–6]. Without
  knowledge of Part 1, because it was removed for DMCA implications, new viewers

  are led to believe that Parts 2 and 3 are McNally's first encounter with the Proven lock

  product. [Lee Decl. ¶¶ 19–21, 34; Verified Compl. ¶¶ 54, 68].
        Part 3 adds a new layer of defamatory implication. Defendant falsely suggests

  that Proven’s president contacted Defendant’s wife with improper intent. [Lee Decl.
  ¶¶ 24, 27]. In reality, the outreach was directed at Defendant himself through a publicly

  listed number, prior to the filing of this lawsuit, in an attempt to resolve the matter.

  [Lee Decl. ¶¶ 12–13, 24]. Defendant deliberately misrepresents this contact to provoke

  outrage and incite his followers against Proven. [Lee Decl. ¶¶ 24, 28–29]. By doing so,
  he reinforces the narrative that Proven is not only selling insecure products but is also

  acting maliciously, thereby amplifying the harm and intensifying the campaign of
  reputational sabotage against Plaintiff. [Lee Decl. ¶¶ 28–30, 32–34].

                   3. Part 4 of the McNally Videos

        In Part 4, McNally targets a different lock product from Plaintiff. [Lee Decl. ¶

  25]. The video again omits material details, including prior inspection of the lock’s

  internal mechanisms, preparatory steps, and the knowledge required to fabricate a

  suitable shim. [Supp. Sansone Decl. ¶¶ 4–7]. As with prior parts, McNally falsely
  implies that the lock can be easily defeated by anyone using a piece of scrap metal,

  when in fact the bypass was only possible due to McNally’s prior knowledge,

  experience, and concealed preparation. [Lee Decl. ¶ 25; Supp. Sansone Decl. ¶¶ 5–6].

  Part 4 further demonstrates that Defendant has escalated his campaign to discredit
  Plaintiff’s entire product line. [Lee Decl. ¶¶ 25, 34–35]. This conduct is retaliatory,

  misleading, and designed to suggest that all of Plaintiff’s products are defective. [Lee



                                             16
Case 8:25-cv-01119-MSS-LSG       Document 10       Filed 06/02/25     Page 18 of 27 PageID 185




  Decl. ¶¶ 25, 30, 34; Supp. Sansone Decl. ¶ 7]. McNally continues to retaliate against
  Plaintiff and, by posting a fourth video with a new product, has demonstrated a willful

  intent to escalate the harm and perpetuate the defamatory implications against the

  Plaintiff. [Lee Decl. ¶ 25]. McNally has turned his initial conduct into a personal
  vendetta aimed at damaging Plaintiff’s business and reputation, consistent with a

  pattern of similar behavior by Defendant in the past. [Id. ¶ 34].

                   4. McNally's Furtherance of Tortious Interference with Proven's
                      Business Relationships
         McNally’s conduct exceeds mere commentary and constitutes deliberate and

  unlawful interference with Proven’s business relationships. By publishing a series of

  viral videos that falsely portray Plaintiff’s locks – without regard to the security option

  level - as insecure and easily bypassed, McNally disrupted customer confidence,
  deterred prospective buyers, and caused measurable harm to Proven’s commercial

  standing. [Lee Decl. ¶¶ 15–35; Verified Compl. ¶¶ 58-83].

         McNally knew or should have known that his demonstrations were misleading
  and would harm Proven. [Lee Decl. ¶ 34; Verified Compl. ¶¶ 67-73]. McNally

  intentionally omitted critical context, including but not limited to, prior disassembly
  and inspection of the lock, repeated practice, and custom shim fabrication, all to create

  the false impression that bypassing Proven’s lock requires no effort, skill, or tools.

  These omissions were calculated to exaggerate product vulnerability and maximize
  audience reaction. McNally then published the videos to millions of followers across

  multiple social media platforms knowing that its message would reach existing and

  potential customers. [Verified Compl. ¶ 55]. Additionally, because McNally frequently

  engages with followers throughout his videos, McNally knew that they would further
  his intentions to undermine Proven and its business relationships. [Lee Decl. ¶¶ 33–


                                              17
Case 8:25-cv-01119-MSS-LSG       Document 10      Filed 06/02/25   Page 19 of 27 PageID 186




  35]. Also intentionally bypassed one of the lowest security core that Proven offers for
  its locks, and while bypassing said locks without having the locks attached to a

  coupling. [Sansone Decl. ¶¶ 10–11; Supp. Sansone Decl. ¶¶ 4–7; Bonfiglio Decl. ¶¶

  10–14].
        The harm to Plaintiff was not only foreseeable, but it was also immediate and

  confirmed. [Lee Decl. ¶¶ 15–35]. McNally’s followers publicly stated their intent to
  damage Proven’s business, encouraged others to avoid its products, and spread the

  same false implications. [Id. ¶ 15]. Customers returned products. [Id.]. Prospective

  buyers declined to purchase. [Id.]. Plaintiff received harassing messages and false

  reviews. [Id. ¶ 26-27]. Followers contacted Proven employees and even family
  members of its President with disturbing and threatening messages. [Id.]. Plaintiff has

  received numerous false and negative reviews from individuals that have not
  purchased the Proven lock product and said reviews reference the McNally Video and

  further McNally's smear campaign against Plaintiff. [Id.]. The negative reviews are

  damaging the Plaintiff's reputation with the Better Business Bureau and its ecommerce

  platforms. [Id. ¶ 15, 30]. For instance, Amazon has removed Proven's ability to have

  a "featured offer" for its Latch Pin Lock product due to the influx of negative reviews

  and decline in sales. [Id. ¶ 30, 31, 33]. McNally's actions were knowing, malicious, and
  without lawful justification. The resulting harm to Proven is ongoing and irreparable,

  incalculable, and cannot be undone by monetary relief. As a result, the interference

  with Proven’s business relationships is not incidental to the defamatory implication, it

  is the direct and foreseeable result of McNally's actions.

        2. Proven will continue to suffer irreparable injury if relief is not granted
        Regarding the copyright claim, continued public display of the Proven Video



                                             18
Case 8:25-cv-01119-MSS-LSG       Document 10      Filed 06/02/25   Page 20 of 27 PageID 187




  without permission deprives Plaintiff of control over its intellectual property and
  erodes the value of the work. The unauthorized use distorts the original message and

  diminishes the promotional and licensing value of the video in the marketplace. This

  type of loss, including reputational damage and lost goodwill in a creative work,
  constitutes irreparable harm. Without a direct injunction, Defendant remains free to

  republish or redistribute the infringing content, depriving Plaintiff of control over its
  copyrighted work and allowing the continued erosion of its commercial value and

  brand integrity.

         Regarding the defamation by implication claim, the McNally Videos falsely

  portray Plaintiff’s products as insecure, suggest that Proven knowingly deceives
  consumers, and implies Plaintiff’s business practices are unethical because it took steps

  to remove its copyrighted content from Defendant’s platform and sought legal redress
  for Defendant’s original defamatory video (Part 1). These implications are repeated

  and magnified across Parts 2 through 4, each reinforcing the original false narrative.

  Defendant omits key facts, such as the need for disassembly, prior inspection, and

  custom shim fabrication, and manipulates the Latch Pin lock outside of intended

  conditions, misleading viewers into believing the bypass is effortless and universally

  replicable.
         The harm resulting from this false narrative is immediate, ongoing, and

  irreparable and Proven has actual damages. [Lee Decl. ¶¶ 15–35]. McNally’s followers

  have posted disparaging comments, sent hostile messages, and engaged in targeted

  harassment, not only through customer service channels, but also by contacting
  Proven’s employees and the family members of its President. [Id.]. These

  communications have disrupted operations and created a hostile and stressful work



                                             19
Case 8:25-cv-01119-MSS-LSG      Document 10      Filed 06/02/25   Page 21 of 27 PageID 188




  environment, raising serious workplace concerns and affecting employee well-being.
  [Id.]. This reputational damage, combined with operational disruption and workplace

  impact, constitutes irreparable injury. [Id.] The harm to Proven’s goodwill, customer

  trust, employee safety, and business reputation cannot be measured in dollars or
  corrected by monetary relief alone. Traditional remedies such as DMCA takedowns

  have proven inadequate to stop the continuing spread and reposting of the defamatory
  content. Absent injunctive relief, Defendant is likely to continue publishing – and has

  shown that he will continue to publish – and amplify these false implications,

  deepening the injury to Plaintiff’s brand, destabilizing its workforce, and interfering

  with commercial relationships in ways that cannot be undone. The pattern of
  retaliation, scale of dissemination, and ongoing nature of the injury make emergency

  injunctive relief both necessary and appropriate.
        3. The injury to Proven outweighs any harm to Defendant

        The balance of equities favors Plaintiff. Proven continues to suffer significant

  reputational harm, customer confusion, and disruption to its business relationships as

  a direct result of the McNally Video and its ongoing circulation. Defendant, by

  contrast, will suffer no legitimate harm from being restrained from engaging in

  unlawful conduct. The proposed injunction is narrowly tailored and does not implicate
  the First Amendment. It would not prevent Defendant from engaging in lawful

  commentary, criticism, or speech about lock security or lock products in general. It

  does not prohibit Defendant from discussing his experiences with locks, voicing his

  opinions, or creating original content. An injunction against the Defendant would only
  restrain Defendant from engaging in conduct that is already unlawful: namely,

  reproducing Plaintiff’s copyrighted promotional video without authorization and



                                            20
Case 8:25-cv-01119-MSS-LSG       Document 10       Filed 06/02/25    Page 22 of 27 PageID 189




  conveying materially false implications about Plaintiff’s product through omission and
  misleading presentation to tortiously interfere with Plaintiff's business and consumers.

        Without injunctive relief, Defendant continues to be unjustly enriched at

  Plaintiff’s expense and continues to publish misleading and damaging videos faster
  than Proven can react. Defendant has monetized the harm by generating views,

  engagement, and possible affiliate revenue through misleading and defamatory videos
  that target Plaintiff’s products and reputation. Each post drives traffic to Defendant’s

  platforms, increasing his influence and income, while amplifying commercial harm to

  Plaintiff. The injunction does not restrict lawful speech. It simply prevents further

  unlawful conduct that exploits Plaintiff’s intellectual property and damages its
  reputation for Defendant’s commercial benefit. Equity weighs heavily in favor of

  stopping the ongoing exploitation and restoring a level playing field.

        4. Enjoining Copyright Infringement and/or Defamation by Implication is
           in the Public Interest
        Regarding the Plaintiff's claims of copyright infringement, granting injunctive

  relief in this case serves the public interest. The public has a recognized interest in the

  enforcement of intellectual property rights and in the fair and truthful presentation of

  commercial information. Defendant’s unauthorized copying and use of Plaintiff’s

  copyrighted video undermines those interests. McNally copied and repurposed the

  most distinctive segment of Proven’s original work, using it to drive internet traffic to
  McNally's own commercial content. This conduct misleads consumers and diminishes

  the value and effectiveness of Plaintiff’s promotional material. An injunction will

  reinforce copyright protections, deter future unauthorized use, and help preserve the

  integrity of original commercial works.
        Regarding the Plaintiff's claims of defamation by implication, the public also


                                              21
Case 8:25-cv-01119-MSS-LSG       Document 10       Filed 06/02/25    Page 23 of 27 PageID 190




  has an interest in the fair and truthful presentation of commercial information.
  McNally’s video implies that Plaintiff knowingly markets a defective lock and

  misleads consumers. These false implications continue to circulate widely and

  interfere with Plaintiff’s customer relationships. Courts have recognized that false
  commercial speech may be enjoined when it furthers an independent tort, such as

  tortious interference with business relationships, which is the case here. See Sui v. Harry
  Wu, Case No. 8:11-cv-37-T-23TBM (M.D. Fla. 2011) (citing Murtagh, 40 So. 3d at 66

  (Fla. 2d DCA 2010)); Bake, 938 F.Supp.2d 1265 (citing Zimmerman, 505 So. 2d at 1372

  (Fla. 4th DCA 1987)).

         The reputational and commercial harm caused by Defendant’s video is both
  ongoing and incalculable. The videos continue to spread a false narrative, disrupt

  Plaintiff’s operations, harass Proven personnel, mislead viewers who have no firsthand
  experience with the product. In light of the severe and growing impact on Plaintiff’s

  operations, staff, and public image, the equities clearly support the issuance of

  immediate injunctive relief. These are precisely the type of injuries that justify

  injunctive relief. See id.

         Furthermore, the Florida Supreme Court has already recognized that Florida’s

  statutory defamation protections have already balanced the rights of individuals to be
  free from defamatory statements against the First Amendment protections for free

  speech and expression. See Jews for Jesus, Inc., 997 So. 2d at 1111-12 (Fla. 2008)

  (discussing First Amendment implications and public policy). Section 770.01, Florida

  Statutes, requires pre-suit notice, which was provided in this case, and which gave
  Defendant an opportunity to correct the defamatory statements. See id. No corrective

  action was taken by the Defendant, nor did Defendant make any attempt to discuss



                                              22
Case 8:25-cv-01119-MSS-LSG         Document 10      Filed 06/02/25     Page 24 of 27 PageID 191




  the matter with Plaintiff pre-suit. Instead, after this lawsuit was filed, after the Plaintiff
  filed DMCA takedowns, and after Defendant was notified of the damages it had

  caused, Defendant doubled down and posted additional videos to attack the Plaintiff,

  its customers, and its reputation.
         The notice provisions of Fla. Stat. § 770.02 as well as the limitations on available

  damages where the falsehood was published in good faith and corrected promptly
  adequately balance the implications of free speech under the first amendment. Id.

  However, the safeguards to protect speech under Fla. Stat. § 720.02 do not extend to

  speech where the Defendant deliberately harms a business through knowingly false

  implications and commercial exploitation. Therefore, an injunction is a necessary
  measure to limit the harm to the Plaintiff.

         McNally's conduct falls outside the scope of protected commentary and into the
  realm of commercial exploitation and theft promotion. Injunctive relief in this case

  supports the public interest by holding McNally accountable for his deliberate actions

  and preserving the integrity and safety of the marketplace. Additionally, public policy

  weighs against the unregulated dissemination of misleading lock-picking videos that

  falsely suggest consumer security devices are ineffective when in use. States like

  Florida criminalize the possession of burglary tools, including lock-picking
  instruments, due to the inherent public risk, tools which McNally promotes. See Fla.

  Stat. § 810.06. The McNally Video, created for personal profit, reputational sabotage,

  and theft promotion, serves no public good. The continued spread of deceptive videos

  purporting to teach lock breaching runs counter to these public safety interests, because
  there is no other legitimate purpose to disseminate these videos other than to promote

  theft. Even platforms like YouTube prohibit content that encourages illegal or



                                               23
Case 8:25-cv-01119-MSS-LSG      Document 10      Filed 06/02/25   Page 25 of 27 PageID 192




  dangerous activities, including “instructional theft” or demonstrations that bypass
  security systems. See YouTube, Harmful or Dangerous Content Policies, Google Help,

  https://support.google.com/youtube/answer/2801964?hl=en (last visited June 2,

  2025). No public interest is served by allowing a social media creator to deceptively
  create videos, misuse a business’ content without permission, promote theft and lock

  bypassing, and promote false implications about said business' product to mislead
  consumers, jeopardize the safety of their assets, and irreparably damage the business.

    V.   Conclusion

         WHEREFORE, Plaintiff Proven Industries Inc. respectfully requests that the

  Court enter a preliminary injunction, effective during the pendency of this action or
  until further order of the Court, enjoining Defendant Trevor McNally, his agents,

  representatives, affiliates, and all persons in active concert or participation with him
  who receive actual notice of the injunction, from:

         1.    Reproducing, displaying, distributing, or otherwise using any portion of

  Plaintiff’s copyrighted audiovisual work titled "YOU GUYS KEEP SAYING YOU

  CAN EASILY BREAK OFF OUR LATCH PIN LOCK", including any excerpt or

  derivative thereof, in any medium or format;

         2.    Publishing, reposting, or distributing any video, post, or content that
  falsely implies Plaintiff’s lock product can be trivially bypassed without tools,

  expertise, or preparation;

         3.    Publishing, reposting, or distributing any video or post that combines

  visual elements of the Proven Video or Plaintiff’s product branding with misleading
  depictions, omissions, or staged demonstrations intended to imply product failure;

         4.    Encouraging, promoting, or directing others to post false reviews, submit



                                            24
Case 8:25-cv-01119-MSS-LSG       Document 10      Filed 06/02/25   Page 26 of 27 PageID 193




  misleading inquiries, or engage in coordinated online activity based on the McNally
  Video or its false implications;

        5.     Failing to remove any existing videos, social media content, or online

  comment that incorporates the Proven Video or promotes the false implication that
  Plaintiff’s product is ineffective or deceptively marketed;

        6.     Failing to preserve all drafts, communications, posting data, affiliate
  marketing records, and monetization metrics related to the creation, dissemination,

  and performance of the McNally Video; and

        7.     Awarding such further relief as the Court deems just and proper.

        Pursuant to 15 U.S.C. § 1116(d)(5)(D) and Fed. R. Civ. P. 65(c), Plaintiff is
  prepared to post a bond in an amount the Court deems appropriate for the payment of

  damages to which Defendants may be entitled if found to be wrongfully enjoined or
  retrained.

  Dated: June 2, 2025                      Respectfully Submitted,

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                                             25
Case 8:25-cv-01119-MSS-LSG      Document 10      Filed 06/02/25   Page 27 of 27 PageID 194



                             CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that on 2 June 2025 a true and correct copy of the foregoing
  was served to all counsel of record via email and by filing with the Clerk of the Court
  using Florida E-Filing Portal, on all counsel or parties of record.

        /Derek Fahey/
        Derek Fahey, Esq.




                                            26
